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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA

 

QUEENS HOSPITALITY, LLC, a Florida
limited liability company

Plaintiff, Case No.

against

BREAKFAST BITCH, LLC, a California limited
liability company

Defendants.

 

PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
AND INCORPORATED MEMORANDUM OF LAW

Pursuant to Fed. R. Civ. P. 65, and other applicable law, Plaintiff Queens Hospitality,
LLC (“Queens”), by and through its undersigned counsel, respectfully moves the Court for entry
of a preliminary injunction against Defendant Breakfast Bitch, LLC (“Defendant”). As grounds
for this Motion, Queens sets forth below an incorporated Memorandum of Law.
MEMORANDUM OF LAW

I. INTRODUCTION.
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This action arises out of Defendant’s unlawful attempt to enhance its business by, among
other things, (i) unlawfully imitating Queens’ business model and intellectual property so as to
deceive potential customers into believing that Defendant produced such intellectual property;
(ii) unlawfully reproducing or otherwise copying Queens’ registered intellectual property and
applying such to Defendant’s advertisements so as to deceive potential customers into believing
that Defendant produced such intellectual property; (iii) wrongfully trading upon Queens’
goodwill and brand loyalty; (iv) unlawfully using a combination of words on its business
materials so as to deceive potential customers into believing that Defendant produced the
combination of words for such use; and (iv) tarnishing Queens’ unique business reputation.

As aresult of Defendant’s tortious acts, Queens has a substantial likelihood of success on
the merits of the following claims: (i) Federal Trademark Infringement under 15 U.S.C. § 1114;
(ii) Trademark Infringement under Florida Statutes, Section 495.131; (iii) Federal Unfair
Competition under 15 U.S.C. § 1125(a); and Unfair Competition under Florida Statutes, Section
501.201.

Il. FACTUAL BACKGROUND.
Queens and its Business

At least as early as 2016, Queens has owned its restaurant under the name “Bacon Bitch,”
and the registered Trademark “BACON BITCH” and variations thereof, including U.S.
Registration No. 5666197 in connection with restaurant services and fast food services. Bacon
Bitch, which is located in Miami Beach, Florida, provides a unique twist on comfort food,
offering a wide array of brunch style options. In one post on Queens’ website (“Bacon Bitch
Website”), Queens writes that “Bacon Bitch seamlessly combines this comfort food staple with

the highest quality ingredients and freshly baked artisanal croissants for a truly delectable and
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one of a kind meal.” See Exhibit A. Bacon Bitch has experienced dramatic success since its
inception in 2016 and continues to work on its expansion throughout the United States.

On the menu at Bacon Bitch, the restaurant uses the following phrases to identify the
entrees it offers: (i) primary entrees are identified under the heading “Main Bitch,” (ii) side items
are identified under the heading “Side Bitch,” (iii) add-on items are identified under the heading
“Extra Bitch,” and (iv) alcoholic beverages are identified under the heading “Drunk Bitch.” See
Exhibit B. To protect its intellectual property rights in this unique menu, Queens registered the
menu with the United States Copyright Offices (Case No. 1-7768301031).

Defendant’s Unlawful Practices

Defendant was registered as a California limited liability company with the California
Secretary of State on May 22, 2019. According to Defendant’s website (“Breakfast Bitch
Website”), which is operated from the internet domain www.eatbreakfastbitch.com, Defendant is
scheduled to open its restaurant, “Breakfast Bitch,” on July 13, 2019 in San Diego, California.

On the Breakfast Bitch Website, Defendant has previously posted content with a
description of its business model that directly mimics that of Bacon Bitch. Significantly, without
providing direct credit to Bacon Bitch, that same website post even noted Defendant’s inspiration
for Breakfast Bitch, writing that Breakfast Bitch was “inspired by one of the hippest spots in
Miami.” See Exhibit C. Moreover, the proposed menu at Breakfast Bitch posted to the Breakfast
Bitch Website by Defendant is a copy of Bacon Bitch, uses almost exact recipes, but most
notably the similarities in identifying the entrees: (i) primary entrees are identified under the
heading “Main Bitch,” (ii) side items are identified under the heading “Side Bitch,” (iii) add-on
items are identified under the heading “Extra Bitch,” and (iv) alcoholic beverages are identified

under the heading “Thirsty Bitch.” See Exhibit D. In response these various aggravating
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circumstances and similarities, Queens notified Defendant that its current operations were in
violation of Queens’ intellectual property rights and attempted to amicably resolve this matter.
Evidence of Actual Confusion

Defendant currently maintains a page for Breakfast Bitch on the popular business review
website, yelp.com (“Yelp”). Upon Defendant attempting to register the Breakfast Bitch Yelp
page, the Yelp restaurant specialist assigned to the registration expressed concern that a page for
this restaurant was already maintained. As a result of this confusion, the Yelp representative was
forced to directly contact Queens to confirm that the page was somehow related to Bacon Bitch
or otherwise affiliated with Queens. To reiterate, an expert in the industry of identifying
restaurants was affirmatively confused the Breakfast Bitch was in some way affiliated with
Bacon Bitch. See Exhibit E. There is no speculation as to consumer confusion as evidenced by
their own Instagram comments where consumers inquire as to whether Breakfast Bitch is in
some way related to Bacon Bitch. See Exhibit F.

Ti. LEGAL AUTHORITY FOR RELIEF,

To obtain a preliminary injunction, a movant must establish: (1) a substantial likelihood
of success on the merits of its claims, (2) a substantial threat of irreparable injury if the
injunction is not granted, (3) that the threatened injury to the movant outweighs the harm an
injunction may cause the defendant, and (4) that granting the injunction would not disserve the
public interest. See Four Seasons Hotels & Resorts, B.V. v. Consorcio Barr, $.A., 320 F.3d 1205,
1210 (11th Cir. 2003). As set forth below, Queens satisfies all four of these elements and is thus
entitled to a preliminary injunction entered against Defendant.

1. Queens Has a Substantial Likelihood of Success on the Merits of
Its Claims.
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Queens has a substantial likelihood of success on the merits of its claims. First, under
Section 32 of the Lanham Act, a person is liable for trademark infringement for:

(a) use in commerce any reproduction, counterfeit, copy, or colorable
imitation of a registered mark in connection with the sale, offering for sale,
distribution, or advertising of any goods or services on or in connection with
which such use is likely to cause confusion, or to cause mistake, or to deceive; or

(b) reproduce, counterfeit, copy, or colorably imitate a registered mark and
apply such reproduction, counterfeit, copy, or colorable imitation to labels, signs,
prints, packages, wrappers, receptacles or advertisements intended to be used in
commerce upon or in connection with the sale, offering for sale, distribution, or
advertising of goods or services on or in connection with which such use is likely
to cause confusion, or to cause mistake, or to deceive[.]

15 U.S.C. § 1114.

In order to prevail on a federal trademark infringement claim, a plaintiff must
demonstrate that (1) its marks had priority over defendant’s marks, and (2) defendant’s marks
were likely to cause consumer confusion. See Fla. Int'l Univ. Bd. of Trustees v. Fla. Nat'l Univ.,
Inc., 830 F.3d 1242, 1255 (11th Cir. 2016).

Queens has a substantial likelihood of success on the merits of its claim for trademark
infringement under the Lanham Act. Defendant has violated Section 43(a) by, among other acts,
using Queens’ intellectual property or a colorable imitation thereof in commerce in connection
with Defendant’s restaurant business, which is likely to cause confusion, to cause mistake, or to
deceive. See_Exhibit F. Indeed, such use Defendant of Queens’ overall business model has
already caused confusion among restaurant industry experts. See Exhibit E.

Moreover, the Lanham Act also provides a cause of action for unfair competition. In

relevant part, Section 43(a) of the Lanham Act provides:
(a)(1) Any person who, on or in connection with any goods or services, or

any container for goods, uses in commerce any word, term, name, symbol, or
device, or any combination thereof, or any false designation of origin, false or
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misleading description of fact, or false or misleading representation of fact,
which—

(A) is likely to cause confusion, or to cause mistake, or to deceive as to the
affiliation, connection, or association of such person with another person, or as to
the origin, sponsorship, or approval of his or her goods, services, or commercial
activities by another person, or

(B) in commercial advertising or promotion, misrepresents the nature,
characteristics, qualities, or geographic origin of his or her or another person’s
goods, services, or commercial activities,

shall be liable in a civil action by any person who believes that he or she is or is
likely to be damaged by such act.

15 U.S.C. § 1125(a).

Generally, to prevail on a federal claim of unfair competition under § 43(a), a trademark
owner “must show (1) that it had trademark rights in the mark or name at issue and (2) that the
other party had adopted a mark or name that was the same, or confusingly similar to its mark,
such that consumers were likely to confuse the two.” Suntree Techs., Inc. v. Ecosense Int'l, Inc.,
693 F.3d 1338, 1346 (11th Cir. 2012). Section 43(a) of the Lanham Act is nearly identical to the
above-discussed likelihood of confusion standard, but “is broader ... in that it covers false
advertising or description whether or not it involves trademark infringement.” Fla. Int'l Univ. Bd.
of Trustees, 830 F.3d at 1265 (citing Babbit Elecs., Inc. v. Dynascan Corp., 38 F.3d 1161, 1181
(11th Cir. 1994)). The standards for Florida common law trademark infringement are the same as
the federal standards. See Rain Bird Corp. v. Taylor, 665 F.supp.2d 1258, 1267 (N.D. Fla. 2009).

Queens has a substantial likelihood of success on the merits of its claim for trademark
infringement under the Lanham Act. Defendant has violated Section 43(a) by, among other acts,
using Queens’ intellectual property or a colorable imitation thereof in commerce in connection
with Defendant’s restaurant business, which is likely to cause confusion, to cause mistake, or to

deceive.
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Given Defendant’s refusal to cease using Queens’ intellectual property, Defendant is
willfully infringing Queens’ rights under the Lanham Act and other applicable law. Defendant’s
flagrant and continuing use of Queens intellectual property is unauthorized and has already
caused actual confusion among both consumers and industry experts. Under these circumstances,
there is a substantial likelihood that Queens will prevail on its claims for trademark infringement
and unfair competition under the Lanham Act, and a preliminary injunction is warranted to avoid
further irreparable injury to Queens.

2. Queens Has Suffered and Will Continue to Suffer Immediate
Irreparable Injury Unless an Injunction is Entered.

Queens will suffer irreparable injury if the court does not issue a preliminary injunction
because the consumer confusion that will result from Defendant opening its restaurant on July
13, 2019 as scheduled will continue to cause customers to believe that Defendant’s restaurant is,
at a minimum, affiliated with or sponsored by Queens. Since at least as early as 2016, Queens
has spent considerable time and revenue developing its brand, advertising its Marks, and
promoting the good will of its name. Queens is at risk of having its reputation in the restaurant
and hospitality community significantly damaged by Defendant continuing its current operations.

Not only have Defendant’s actions already tarnished Queens’ business, but there is no
possible way to quantify the irreparable damage and harm that Queens will experience at the
hand of Defendant actions and resulting customer confusion. See McDonald’s Corp. v.
Robertson, 147 F.3d 1301, 1307 (11th Cir. 1998) (finding that there is no conceivable way to
calculate money damages under such circumstances).

Unless Defendant is immediately enjoined from using the Queens’ Marks and distinct
characteristics of Queens’ business, additional consumers will undoubtedly be confused, and

Queens will suffer further irreparable harm.
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3. The Threated Injury to Queens Clearly Outweighs the Potential
Damage to Defendant.

The hardship that will flow to Queens clearly outweighs any potential damage to
Defendant. Queens will undoubtedly continue to suffer unquantifiable damage if Defendant is
permitted to further use Queens’ Marks and trade dress. In the absence of a preliminary
injunction entered against Defendant, Queens will continue to suffer incalculable costs, and
Defendant will certainly continue to unfairly ride the coat tails of Queens’ good will.

On the other hand, Defendant would experience hardly any substantive harm or potential
damage as a result of this injunction. To the extent that Defendant suffers any financial harm
based on the expenses incurred in delaying its grand opening, a defendant traditionally is

required to bear the impact of any harm caused by its own wrongdoing. See Telestrata, LLC v.

 

NetTALK.com, Inc., 126 F. Supp. 3d 1344, 1355 (S.D. Fla. 2015) (citing Novartis Consumer

 

Health, Inc. v. Johnson & Johnson—Merck Consumer Pharmaceuticals Co., 290 F.3d 578, 596
(3d Cir. 2002) (“[I]n considering the potential harm to a non-movant, a court may discount
potential harm that would arise due to the actions of the non-movant.).

Furthermore, Queens is not in any way seeking to preclude Defendant from lawfully
advertising and engaging in the restaurant and hospitality business from across the country.
Queens only seeks only to enjoin Defendant from engaging in such business by using Queens’
valuable intellectual property. Accordingly, the balance of the harm favors the Court entering a
preliminary injunction.

4. The Public Interest Favors Granting the Requested Injunction.

The public interest will be served by the Court enjoining Defendant from continuing its
current practices. As a result of the preliminary injunction, the consuming public will no longer

be misled by Defendant’s business. In a trademark or unfair competition action such as the
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present, the court has noted that “the public is entitled to be free from deception and confusion.’
Laboratorios Roldan c. por A. v. Tex Int'l, Inc., 902 F.Supp. 1555, 1570 (S.D. Fla. 1995). As
noted above, Defendant’s menu, name, and business practices have continually misled
consumers into believing that Defendant’s business is somehow affiliated with or sponsored by
Queens. As such, enjoining Defendant’s further distribution of the identical intellectual property
of Queens would not disserve the public interest.
IV. CONCLUSION

Queens respectfully requests that this Court enter a preliminary injunction, whereby
enjoining Defendant from using Bacon Bitch’s intellectual property including the menu titles and
Breakfast Bitch name and requiring Defendant to issue corrective advertising sufficient to dispel
the ongoing harmful effects to Queens and for any further relief deemed just and proper by this
Court including reasonable attorney’s fees.

Dated: July 12, 2019.

Respectfully submitted,

/s/ Brenda J. Schamy
Brenda J. Schamy, Esq.

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(Attorney for Plaintiff)
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EXHIBIT A

Inspited by the classic New York breakfast dish - BaconEgg &

Cheese, Bacon Bitch seamlessly combines this comfort food Hours: Friday- Monday Boa 300am

staple with the highest quality ingredients and freshly baked Tuesday. Wednesday B0am-6 00pm
Ki a

aftisanal croissants for a truly delectable and ane of a kind meal.
No longer just for brealast, bacon is more than food... #'s an Location: 860 Collins Ave, Miami Beach, FL 3130
experience,

Phone! 305-000-7371

Bacon Biteh, Come get a mouthful

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EXHIBIT B

MAIN BETCH

 

 

GOUNTRY Sac QUEENS S20 CUBAN Sz
Sausage Gravy. Turkoy sausage. Nuoske's Bacon, Egg, Sharp Chicharrons, Mojo Pork, Synss,
Eas Cheddar Cheese Nueske's Bacon, Picktes, Pickied
Red Cabbage. Yeltow mustard
AMERICAN Siz rit S10
Hash Brown, Nueske's Bacon, Fag Hummus, Tomate, Cucumber, Gena PHILLY $13
Syrup Wwnite Strip Steak, Portobelte Mushrooms
Caramouzed onions, Spicy Nacho
FANCY S35 BACON S20 cheese
Lobster. Nueske's Bacon Bits. Dijon Nueske's Bacon. Tomate Jam
Hollandaise. Spinach. €ag Spinach, texas Pate Alot

 

SIDE BircH

 

FRESH $a WEET eo FLUFFY 7

Feash Craissants amt obhocelata Ganacha, Homenacde Silwar Ooltar Buttarrnithk
MNuecske’s Bacon Bits Pancakes. canciod bacon Bits.

ORIGINAL se eae

Nuaske'n Sacan. Syrup cCHUNICY SS

 

Homemade Chacatare Chunk
s ex Coolie With Goowy Chocatate
CRISPY es Canter

Seasoned Homemade Hash Brower

 

EXTRA BITCH

 

Strip steak $4 Egag/Egg White $2 Bacon Bits $3
Tomato Jani $2 Mojo Pork $3 Cheese $2

Lobster $6 Turkey Sausage $3

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EXHIBIT C

 

Breakfast Bitch

Situated in the Hillcrest district of San Diego, Breakfast Bitch
is an exciting new concept founded in 2019 by Tracii &
Derrell Hutsona.

Inspired by one of the hippest spots in Miami, Breakfast
Bitch seamlessly combines comfort food and make your
own pancakes at your table with a hip and playful vibe
featuring a one of a kind experience. Come thru for good
food, good fun, and good music.

Stop in and Griddle your own pancakes, choose a
yummy croissant breakfast sandwich or something light
from our Skinny Bitch menu. Hang our at Tipsy Bitch for
BOTTOMLESS Mimosas or try our signature Bloody Bitch.

Monday-Saturday 8AM-2PM
Sunday DJ Brunch 8AM-3;30PM
After Hours Friday and Saturday 1AM-4AM

Stay Tuned for our GRAND OPENING in SPRING 2019

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EXHIBIT D

€ 2 GC ® hitpsyww.ealbreakfasthitch.com * @ ©

 

BASIC BITCH
Make your own cakes. 0.00
{pitcher of pancake batter, strawberries,

banannas, powdered sugar, chocolate chips}

Simple
{hashbrowns,

tah
(strip steak, egg, dijon hollandaise}

SIDE BITCH
Las ieemOtcer essa a 10.00
Crispy Hash Browns

Chocolate & Bacon Croissant
6.00

Chocolate Chip Cookie. 5.00

 

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EXHIBIT E
AFFIDAVIT FROM YELP EMPLOYEE

 

Breakfast Bitch

 

Tron yotrizzle@amail com>
‘To Santronya

in the 5 beginning of March when Iwas employed as t an | Inbound: Sales F. Rep sy Yal | raved a ait
Information about creating a new Yelp listing for a new restaurant in San. ie ‘ cal
information | needed and the menu looked identical toa menu | had s
fooked nec, the same tome
who w

 

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EXHIBIT F
INSTAGRAM CONSUMER CONFUSION

< Comments YW

 

& xock_ @breakfastbitch_sd will do.
19w ‘like Reply

taylereatseverything 7

 

 

; ©
19w ‘Tilike Reply
amandavsfood Are y’all related to bacon
bitch in Miami??
18w ‘like Reply
= amandavsfood @breakfastbitch_sd
| need to stop by soon!
18w Reply
we breakfastbitch_sd @amandavsfood
“Bacon Bitch Miami is awesome! We
are not related to them at all!
Tow Reply
vee f
sandiego_diary &» @& ©

18w Reply

brinsonbarbara59 @breakfastbitch_sd
will make a visit Friday especially 4
bloody mary. Hope taste as good as

photo looks @) &
13w Reply

 

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